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ALAN R. SMITH, ESQ. #1449
HOLLY E. ESTES, ESQ. #11797

 

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Telephone (775) 786-4579
Facsimile (775) 786-3066
Email: matl@asmithlaw.com
Counsel for Debtors
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
—o0o00o00—
In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and Chapter 11 Cases
WENDI THOMAS,
[Jointly Administered]
AT EMERALD, LLC, NOTICE OF ENTRY OF ORDER
APPROVING STIPULATION TO
CONTINUE HEARING ON US
Debtors. TRUSTEE’S MOTION TO
DESIGNATE CASE AS SMALL
BUSINESS CASE
New Hearing Date: September 10, 2014
New Hearing Time: 2:00 p.m.
/
PLEASE TAKE NOTICE that the above-entitled Court entered an Order Approving
Stipulation To Continue Hearing On US Trustee’s Motion To Designate Case As Small

Business Case [DE 133] on the 21* day of July, 2014 (“Order”). A copy of said Order is
attached hereto as Exhibit “A” and made a part hereof.
DATED this 22" day of July, 2014.
LAW OFFICES OF ALAN R. SMITH
By: /s/ Alan R. Smith

ALAN R. SMITH, ESQ.
Attorney for Debtors

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By 7 Beak

Honorable Bruce T. Beesley
United States Bankruptcy Judge

 

 

tered on Docket

duly 21, 2014

 

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ALAN R. SMITH, ESQ. #1449

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Reno, Nevada 89501 July 16, 2014
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Attorney for Debtors

ANTHONY THOMAS and WENDI
THOMAS and AT EMERALD, LLC

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

—oo0000—

In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and Chapter 11 Cases
WENDI THOMAS,
[Jointly Administered]

AT EMERALD, LLC, ORDER APPROVING STIPULATION
TO CONTINUE HEARING ON US
TRUSTEE’S MOTION TO
DESIGNATE CASE AS SMALL
Debtors. BUSINESS CASE

VACATE
Old Hearing Date: July 30, 2014
Old Hearing Time: 2:00 p.m.

 

 

New Hearing Date: September 10, 2014
/ New Hearing Time: 2:00 p.m.

 

The Court having considered the Stipulation To Continue Hearing On US Trustee’s

Motion To Designate Case As Small Business Case (the “Stipulation’’) entered into between

 

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1 || Debtor, AT EMERALD, LLC, by and through its counsel, Holly E. Estes, Esq., of the Law
2 || Offices of Alan R. Smith, and the United States Trustee, by and through her counsel William B.
3 || Cossitt, Esq., filed herein on July 16, 2014 as Doc. 120, and good cause appearing,
4 IT IS HEREBY ORDERED that the Stipulation is approved and the hearing currently
5 || scheduled for July 30, 2014 at 2:00 p.m. shall be continued to September 10, 2014 at 2:00
6 || p.m.
7 IT IS HEREBY FURTHER ORDERED that the hearing scheduled for July 30, 2014
8 |} at 2:00 p.m. shall be vacated.
9 IT IS SO ORDERED

10 | PREPARED AND SUBMITTED BY:

11 LAW OFFICES OF ALAN R. SMITH

12 || By: /s/ Holly E. Estes

HOLLY E. ESTES, ESQ.

13 Attorney for Debtors

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15 HHH

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ALAN R. SMITH

 

 
